16 F.3d 1217
    U.S.v.Investment Enterprises, Inc., d/b/a Great Western Litho &amp;Bindery, Browning (Donald P.), California PublishersLiquidating Corporation, Warner (Michael), Video Team, Inc.,Colvin (Susan C.); U.S. v. California Publishers LiquidatingCorp., Video Team, Inc., Browning (Donald P.), Warner (Michael)
    NOS. 91-7134, 91-7266
    United States Court of Appeals,Fifth Circuit.
    Feb 16, 1994
    N.D.Tex., 10 F.3d 263
    
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      DENIALS OF REHEARING EN BANC.
    
    